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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §            Case No: 2:15-cv-01877-JRG-RSP
                                    §
vs.                                 §
                                    §
AMERICAN HONDA MOTOR CO.,           §
INC.                                §
                                    §
      Defendant.                    §
___________________________________ §
ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §            Case No: 2:15-cv-01880-JRG-RSP
                                    §
vs.                                 §
                                    §
MERCEDES-BENZ
.                USA, LLC           §
                                    §
      Defendant.                    §
___________________________________ §

                        ORDER OF DISMISSAL WITH PREJUDICE

       On this date, the Court considered Plaintiff Rothschild Connected Devices Innovations,

LLC’s motion to dismiss with prejudice Defendant Mercedes- Benz USA, LLC. pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(ii).

       Therefore, IT IS ORDERED that claims by and between parties are dismissed with

prejudice.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 6th day of June, 2016.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE
